Case No. 1:23-cv-03360-SKC-STV                 Document 1          filed 12/20/23        USDC Colorado             pg
                                                   1 of 8




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

 Case No. 1:23-cv-03360

 WAYNE WHEELS,

                  Plaintiff,

 v.

 KODIAK BUILDING PARTNERS and,
 BARTON MATERIALS

                  Defendants.


                                DEFENDANTS’ NOTICE OF REMOVAL


         Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, and D.C.COLO.LCivR 81.1, Defendant

 Barton Materials, LLC, (“Barton”)1 through undersigned counsel, hereby remove the state court

 action captioned, Wayne Wheels v. Kodiak Building Partners and Barton Materials, Civil Action

 No. 2023CV224 from the District Court, Arapahoe County, Colorado to the United States District

 Court for the District of Colorado.

 I.      STATE COURT ACTION

         1.       Plaintiff Wayne Wheels, pro se, commenced this action on September 1, 2023, by

 filing a Complaint in the District Court, Arapahoe County, Colorado, entitled Wayne Wheels v.

 Kodiak Building Partners & Barton Materials, Civil Action 2023CV224. The Complaint is




 1
  Although Plaintiff named “Kodiak Building Partners” as a Defendant, Defendants are not aware of a legal entity
 bearing the name "Kodiak Building Partners." Barton’s parent company is Kodiak Investments, LLC, and, to the
 extent Plaintiff intended to name Kodiak Investments, LLC, that entity consents to removal.
Case No. 1:23-cv-03360-SKC-STV           Document 1      filed 12/20/23     USDC Colorado       pg
                                             2 of 8




 attached as Exhibit A, the Civil Case Cover Sheet is attached as Exhibit B, and Exhibits 1-6 to

 the Complaint are attached as Exhibits C–H.

        2.       On September 1, 2023, the District Court, Arapahoe County, Colorado, issued a

 Summons for the Defendants, which is attached as Exhibit I.

        3.       The Court issued a Delay Reduction Order on September 5, 2023, which is attached

 as Exhibit J.

        4.       On September 6, 2023, each Defendant was served with the Summons and the

 Complaint, the Returns of Service are attached as Exhibits K and L.

        5.       On September 26, 2023, Defendants filed a Motion for Extension of Time, in which

 Defendants sought an extension of time to submit their response to the Complaint through October

 11, 2023, which is attached as Exhibit M. On September 26, 2023, the District Court, Arapahoe

 County, Colorado, granted this motion, permitting Defendants to respond to the Original

 Complaint through October 11, 2023. This order is attached as Exhibit N.

        6.       On October 11, 2023, Defendants filed their Answer, which is attached as Exhibit

 O.

        7.       On November 20, 2023, Plaintiff filed a “Response” to Defendants’ Answer, which

 is attached as Exhibit P.

        8.       On December 5, 2023, Plaintiff filed an “Amended Response” to Defendants’

 Answer, which is attached as Exhibit Q.

        9.       On December 5, 2023, Plaintiff also filed a “Notification of Revocation of

 Unsigned Settlement and Release Agreement,” which is attached as Exhibit R.




                                                 2
Case No. 1:23-cv-03360-SKC-STV             Document 1        filed 12/20/23    USDC Colorado         pg
                                               3 of 8




        10.     Pursuant to 28 U.S.C. § 1446(a), Exhibits A – R comprise all of the “process,

 pleadings, and orders” filed in the state court action.

        11.     Pursuant to D.C.COLO.L.Civ.R 81.1(b), a copy of the current docket from the

 District Court, Arapahoe County, Colorado is also attached as Exhibit S. There are no pending

 motions, petitions, or related responses, replies, or briefs before the District Court, Arapahoe

 County, Colorado.

        12.     No further proceedings have occurred in the District Court, Arapahoe County,

 Colorado.

 II.    REMOVAL IS PROPER BECAUSE THIS COURT HAS FEDERAL QUESTION
        JURISDICTION OVER THE MATTER PURSUANT TO 28 § U.S.C. 1331.

        13.     This Court has original jurisdiction over Plaintiff’s claims under 28 U.S.C. § 1331

 because Plaintiff’s pleadings present a federal question.

        14.     Plaintiff’s Complaint alleges a single claim for unpaid wages under Colo. Rev. Stat.

 §§ 8-4-101 et. seq. However, his filings styled as the “Response” and “Amended Response”—

 which appear to be purported amendments to the Complaint, see Exs. P & Q—for the first time

 assert claims under, inter alia, the Americans with Disabilities Act (the “ADA”) and the Family

 and Medical Leave Act (the “FMLA”) (collectively, “Federal Claims”). E.g., Amended Response

 at p. 2 ¶ 2.a (alleging Defendants were “required to make a reasonable accommodation to the

 known disability” under the Americans with Disabilities Act”); p. 4 ¶ 4.a (alleging “interference”

 under the FMLA).

        15.     Therefore, Plaintiff’s claims, as stated in the Response and Amended Response,

 arise under the Constitution and laws of the United States. See 28 U.S.C. § 1331 (“The district

 courts shall have original jurisdiction of all civil actions arising under the Constitution, laws, or

                                                   3
Case No. 1:23-cv-03360-SKC-STV              Document 1      filed 12/20/23     USDC Colorado         pg
                                                4 of 8




 treaties of the United States.”); see also Wis. Dep’t of Corr. v. Schacht, 524 U.S. 381, 386 (1998)

 (holding that the presence of even one claim “arising under” federal law is sufficient for removal);

 BellSouth Telecommunications, Inc. v. MCImetro Access Transmission Servs., Inc., 317 F.3d 1270,

 1278 (11th Cir. 2003) (“For purposes of 28 U.S.C. § 1331 jurisdiction, all that is required is that

 there be an arguable claim arising under federal law.”); Thomas v. Bank of Am. Corp., 12-CV-

 00797-PAB-KMT, 2012 WL 1431224, at *2 (D. Colo. Apr. 25, 2012) (“Because plaintiff’s fifth

 claim for relief asserts violations of the FDCPA, it indisputably arises under the laws of the United

 States, making this action removable.”).

 III.   THIS COURT HAS SUPPLEMENTAL JURISDICTION OVER THE STATE LAW
        CLAIMS.

        In his Complaint, Plaintiff also asserts claims of unpaid wages in the form of paid time off

 he alleges were due at the time of his termination of employment under the Colorado Wage Claim

 Act (“CWCA”), Colo. Rev. Stat. §§ 8-4-101 et. seq., (the “CWCA Claims”). The controversy

 underlying the CWCA Claims, as well as Plaintiff’s Federal Claims, arise out of Plaintiff’s

 separation of employment with Defendant Barton. As Plaintiff’s CWCA Claims are “part of the

 same case or controversy” as his Federal Claims, the Court’s exercise of supplemental jurisdiction

 over Plaintiff’s CWCA Claims is appropriate under 28 U.S.C. § 1367 and removal of all of

 Plaintiff’s claims is proper.

        Pursuant to 28 U.S.C. § 1367(c), a court can decline to exercise supplemental jurisdiction

 if:

                (1)     the claim raises a novel or complex issue of State law,

                (2)     the claim substantially predominates over the claim or claims over
                        which the district court has original jurisdiction,


                                                  4
Case No. 1:23-cv-03360-SKC-STV            Document 1       filed 12/20/23     USDC Colorado          pg
                                              5 of 8




                (3)     the district court has dismissed all claims over which it has original
                        jurisdiction, or

                (4)     in exceptional circumstances, there are other compelling reasons for
                        declining jurisdiction.

        None of the four bases for declining supplemental jurisdiction exist in this case. Plaintiff’s

 CWCA Claims are neither novel, nor complex, and they are based on the same set of facts as the

 claims over which the Court has original jurisdiction: his separation of employment with

 Defendant Barton. Additionally, there are no exceptional circumstances that justify declining

 exercise of supplemental jurisdiction over Plaintiff’s CWCA Claims in this case. Because the

 CWCA Claims are based on the same set of facts, declining to exercise supplemental jurisdiction

 would result in two separate lawsuits regarding the same set of facts pending against the same

 defendant in two different forums at the same time. Accordingly, this Court should not decline to

 exercise supplemental jurisdiction over Plaintiff’s CWCA Claims.

        16.     Therefore, pursuant to 28 U.S.C. § 1367, since this Court has original subject-

 matter jurisdiction over Plaintiff’s Federal Claims and supplemental jurisdiction over the CWCA

 Claims, and because the CWCA Claims are based on the same facts as the Federal Claims,

 Defendants may remove this action pursuant to 28 U.S.C. §§ 1331 and 1441, because Plaintiff

 presents a federal question to be resolved.

 IV.    REMOVAL IS TIMELY

        17.     Pursuant to 28 U.S.C. § 1446(b)(3), “a notice of removal may be filed within thirty

 days after receipt by the defendant, through service or otherwise, of a copy of an amended

 pleading, motion, order or other paper from which it may first be ascertained that the case is one

 which is or has become removable.” Id. (emphasis added). “Under § 1446(b), the removal period


                                                  5
Case No. 1:23-cv-03360-SKC-STV             Document 1        filed 12/20/23      USDC Colorado          pg
                                               6 of 8




 does not begin until the defendant is able ‘to intelligently ascertain removability so that in his

 petition for removal he can make a simple and short statement of the facts.’” Huffman v. Saul

 Holdings Ltd. Partnership, 194 F.3d 1072, 1078 (10th Cir. 1999) (quoting DeBry v. Transamerica

 Corp., 601 F.2d 480, 489 (10th Cir. 1979).

         18.     The Complaint asserts only claims under Colorado state law pursuant to the

 CWCA. See Ex. A, at 2 (alleging three claims for relief, each of which arises under Colo. Rev.

 Stat. §§ 8-4-101(15), 8-4-101(14)(a)(iii), 8-4-109(d)(ii)). In his “Response” to Defendants’

 Answer, Plaintiff, for the first time, asserted Federal claims—those asserted pursuant to the FMLA

 and ADA. Ex. A¸at 2–6. Accordingly, the first time Defendants could “intelligently ascertain

 removability,” was on November 20, 2023, when Plaintiff filed his “Response” to Defendants’

 Answer. Huffman, 194 F.3d at 1078.

         19.     Removal of this action is timely because this Notice of Removal has been filed

 within thirty days of when Defendants received notice of Plaintiff’s “Response” to Defendants’

 Answer.

         20.     Defendants first received notice of Plaintiff’s “Response” to Defendants’ Answer

 on November 20, 2023, and thirty days from November 20, 2023, is December 20, 2023.

 V.      THE OTHER PREREQUISITES FOR REMOVAL HAVE BEEN SATISFIED

         21.     This Notice of Removal is being filed in the United States District Court for the

 District of Colorado, the district court of the United States for the district and division within which

 the State Court Action is pending, as required by 28 U.S.C. §§ 1446(a) and 1441(a).

         22.     Each Defendant consents to the removal of this action pursuant to 28 U.S.C.

 § 1446(b)(2)(A).


                                                    6
Case No. 1:23-cv-03360-SKC-STV           Document 1       filed 12/20/23     USDC Colorado       pg
                                             7 of 8




        23.     A Civil Cover Sheet and Supplemental Civil Cover Sheet have been filed

 contemporaneously with this Notice of Removal.

        24.     No previous application has been made for the relief requested in this notice.

        25.     In accordance with 28 U.S.C. § 1446(d), copies of the original Notice of Removal

 are being served on Plaintiff and filed with the District Court, Arapahoe County, Colorado.

 VI.    CONCLUSION

        WHEREFORE, Defendants respectfully request that this action proceed in this Court as an

 action properly removed to it.

        Dated this 20th day of December, 2023.


                                                      s/ David C. Gartenberg
                                                      David C. Gartenberg
                                                      Nicholas Hankins
                                                      LITTLER MENDELSON, P.C.
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                                                      Attorneys for Defendants




                                                 7
Case No. 1:23-cv-03360-SKC-STV           Document 1        filed 12/20/23     USDC Colorado         pg
                                             8 of 8




                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 20th day of December, 2023, I electronically filed the foregoing

 NOTICE OF REMOVAL with the Clerk of Court using the CM/ECF system and served via U.S.

 mail on the following:

        Wayne Wheels
        1521 S. Fairplay Way
        Aurora, Colorado 80012
        Phone: 720.404.3187
        Email: kng61258@icloud.com

        Pro Se Plaintiff


                                                      s/ Elisabeth L. Egan
                                                      Elisabeth L. Egan




                                                 8
